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                                           March 7, 2025

VIA CM/ECF

Hon. David A. Ezra
United States District Court
Western District of Texas
262 West Nueva Street,
San Antonio, TX 78207

        Re: No. 1:24-cv-00933-DAE, Macalpine et al. v. Onnit Labs, Inc.

Dear Judge Ezra:

        Plaintiffs write to inform the Court of a recent decision related to similar allegations in a
pleading and the briefing in opposition to Defendant’s Motion to Dismiss. The decision was issued
by the United States District Court for the Southern District of Florida, and it is captioned: Guereca
v. Motorsport.tv Digital, LLC, No. 1:24-CV-24066, ECF No. 30 (S.D. Fla. Feb. 19, 2025).
Plaintiffs could not have cited this authority previously because the decision was not rendered until
February 19, 2025, which was after the briefing had closed. A copy of the Guereca opinion is
attached as Exhibit A and without further argument from Plaintiffs.


                                               Respectfully submitted,
                                               HEDIN LLP

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